        Case 1:17-bk-12408-MB Doc 362 Filed 12/21/17 Entered 12/21/17 21:43:55                                                Desc
                            Imaged Certificate of Notice Page 1 of 5
                                              United States Bankruptcy Court
                                             Central District of California
In re:                                                                                                     Case No. 17-12408-MB
ICPW Liquidation Corporation, a Californ                                                                   Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0973-1                  User: admin                        Page 1 of 2                          Date Rcvd: Dec 19, 2017
                                      Form ID: pdf042                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 21, 2017.
db             +ICPW Liquidation Corporation, a California corpora,   15260 Ventura Blvd.,   20th Floor,
                 Sherman Oaks, CA 91403-5303

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 21, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 19, 2017 at the address(es) listed below:
              Aaron S Craig    on behalf of Interested Party    Big Time Products, LLC acraig@kslaw.com,
               lperry@kslaw.com
              Cathrine M Castaldi    on behalf of Creditor Committee    Offical Committee of Unsecured Creditors
               ccastaldi@brownrudnick.com
              Cathrine M Castaldi    on behalf of Financial Advisor    Province Inc. ccastaldi@brownrudnick.com
              Douglas Wolfe     on behalf of Creditor    ASM Capital V, L.P. dwolfe@asmcapital.com
              Jeffrey A Krieger    on behalf of Interested Party    Brighton-Best International, Inc.
               jkrieger@ggfirm.com,
               kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenbergglusker.com
              John M Stern    on behalf of Creditor    Texas Comptroller of Public Accounts
               john.stern@oag.texas.gov, bk-mbecker@oag.texas.gov
              Krikor J Meshefejian    on behalf of Debtor    ICPW Liquidation Corporation, a California
               corporation kjm@lnbrb.com
              Krikor J Meshefejian    on behalf of Debtor    ICPW Liquidation Corporation, a Nevada corporation
               kjm@lnbrb.com
              Matthew A Gold    on behalf of Creditor    Argo Partners courts@argopartners.net
              Monica Y Kim    on behalf of Debtor    ICPW Liquidation Corporation, a California corporation
               myk@lnbrb.com, myk@ecf.inforuptcy.com
              Ron Bender     on behalf of Attorney    Levene, Neale, Bender, Yoo & Brill LLP rb@lnbyb.com
              Ron Bender     on behalf of Debtor    ICPW Liquidation Corporation, a Nevada corporation
               rb@lnbyb.com
              Ron Bender     on behalf of Debtor    ICPW Liquidation Corporation, a California corporation
               rb@lnbyb.com
              Russell Clementson     on behalf of U.S. Trustee    United States Trustee (SV)
               russell.clementson@usdoj.gov
              S Margaux Ross    on behalf of U.S. Trustee    United States Trustee (SV) margaux.ross@usdoj.gov
              Samuel R Maizel    on behalf of Creditor Committee    Offical Committee of Unsecured Creditors
               samuel.maizel@dentons.com,
               alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons.com;kathryn.ho
               ward@dentons.com
              Samuel R Maizel    on behalf of Stockholder    Official Committee of Equity Security Holders
               samuel.maizel@dentons.com,
               alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons.com;kathryn.ho
               ward@dentons.com
              Sharon Z. Weiss    on behalf of Defendant c/o Sharon Z. Weiss Radians Wareham Holding, Inc.
               sharon.weiss@bryancave.com, raul.morales@bryancave.com;geri.anderson@bryancave.com
              Sharon Z. Weiss    on behalf of Creditor    Radians Wareham Holdings, Inc.
               sharon.weiss@bryancave.com, raul.morales@bryancave.com;geri.anderson@bryancave.com
              Sharon Z. Weiss    on behalf of Defendant    Radians, Inc. sharon.weiss@bryancave.com,
               raul.morales@bryancave.com;geri.anderson@bryancave.com
              Shiva D Beck    on behalf of Creditor William Aisenberg sbeck@gardere.com, jcharrison@gardere.com
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                             Form ID: pdf042             Total Noticed: 1


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Shiva D Beck   on behalf of Creditor Jeffrey Cordes sbeck@gardere.com, jcharrison@gardere.com
              Susan K Seflin   on behalf of Financial Advisor   Province Inc. sseflin@brutzkusgubner.com
              Tania M Moyron   on behalf of Stockholder   Official Committee of Equity Security Holders
               tania.moyron@dentons.com, chris.omeara@dentons.com
              Tania M Moyron   on behalf of Interested Party Samuel R. Maizel tania.moyron@dentons.com,
               chris.omeara@dentons.com
              Tania M Moyron   on behalf of Plaintiff c/o Tania Moyron Official Committee of Equity Holders of
               ICPW Liquidation Corporation, a Nevada corporation tania.moyron@dentons.com,
               chris.omeara@dentons.com
              United States Trustee (SV)   ustpregion16.wh.ecf@usdoj.gov
                                                                                            TOTAL: 27
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 1   RON BENDER (SBN 143364)
     MONICA Y. KIM (SBN 180139)
 2   KRIKOR J. MESHEFEJIAN (SBN 255030)                                  FILED & ENTERED
 3   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
     10250 Constellation Boulevard, Suite 1700
 4   Los Angeles, California 90067                                             DEC 19 2017
     Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 5   Email: rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com                    CLERK U.S. BANKRUPTCY COURT
                                                                          Central District of California
     Attorneys for Chapter 11 Debtors and Debtors in Possession           BY Ogier      DEPUTY CLERK
 6
     Samuel R. Maizel (SBN 189301)
 7   Tania M. Moyron (SBN 235736)
     DENTONS US LLP
 8   601 South Figueroa Street, Suite 2500
     Los Angeles, California 90017-5704
 9   Telephone: (213) 623-9300; Facsimile: (213) 623-9924
     Email : samuel.maizel@dentons.com; tania.moyron@dentons.com
10
10   Attorneys for Official Committee of Equity Security Holders
11
11
                               UNITED STATES BANKRUPTCY COURT
12
12                              CENTRAL DISTRICT OF CALIFORNIA
                                 SAN FERNANDO VALLEY DIVISION
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13
     In re:                                              Lead Case No.: 1:17-bk-12408-MB
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14                                                       Jointly administered with:
     ICPW Liquidation Corporation, a California          1:17-bk-12409-MB
15
15   corporation,1
                                                         Chapter 11 Cases
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16             Debtor and Debtor in Possession.
                                                         ORDER GRANTING JOINT MOTION
17
17   In re:                                              FOR ORDER GRANTING STANDING
                                                         TO PURSUE CLAIMS FOR THE
18
18   ICPW Liquidation Corporation, a Nevada              BENEFIT   2)  7+(   '(%7256¶
     corporation,2                                       ESTATES     AND      APPROVING
19
19
               Debtor and Debtor in Possession.          STIPULATION BETWEEN DEBTORS
20
20                                                       AND     EQUITY      COMMITTEE
         Affects:                                        GRANTING STANDING
21
21
           Both Debtors                                  DATE:      December 12, 2017
22
22                                                       TIME:      1:30 p.m.
         ICPW Liquidation Corporation, a California      PLA&(&RXUWURRP³303´
23
23   corporation
                                                                   21041 Burbank Blvd.
24
24       ICPW Liquidation Corporation, a Nevada                    Woodland Hills, CA 91367
     corporation.
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27       Formerly known as Ironclad Performance Wear Corporation, a California corporation.
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         Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
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 1          On December 12, 2017, the Court held a hearing to consider that certain Joint Motion

 2   For Order granting Standing To Pursue Claims For The Benefit Of The DebtorV¶(VWDWHV$QG
 3   Approving Stipulation Between Debtors And Equity Committee Granting Standing (the
 4   ³0RWLRQ´ >'RFNHW1R@ILOHGE\ ICPW Liquidation Corporation, a California corporation,
 5   formerly known as Ironclad Performance Wear Corporation, a California corporation, ICPW
 6   Liquidation Corporation, a Nevada corporation, formerly known as Ironclad Performance Wear
 7   Corporation, a Nevada corporation (collectively, WKH³Debtors´ and the Official Committee of
 8   (TXLW\+ROGHUV WKH³Equity Committee´ $SSHDUDQFHVZHUHDVQRWHGRQWKH&RXUW¶VUHFRUG

 9          The Court, having read and considered the Motion, the Declaration of Geoffrey L.
10
10   Greulich annexed to the Motion, and the Stipulation Granting The Official Committee Of Equity
11
11   Holders Standing To Pursue Certain Estate Based Claims WKH³Stipulation´ >'RFNHW1R@
12
12   notice of the Motion having been proper, no opposition to the Motion having been filed, with
13
13   good cause appearing, orders as follows:
14
14          1.      The Motion is granted and the Stipulation is approved.
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15          2.      The Equity Committee is hereby granted leave, standing and exclusive authority
16
16   WRDVVHUWSURVHFXWHDQGRUVHWWOHRQEHKDOIRIWKH'HEWRUV¶HVWDWHVVXEMHFWWR&RXUWDSSURYDODV
17
17   necessary, any and all Claims3 and Defenses in the AAA Proceeding, in the Bankruptcy Court
18
18   and/or any other forum.
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19          3.      The Equity Committee is hereby granted, and shall have the joint, nonexclusive,
20
20   right to assert any and all privileges controlled by Debtors, including the attorney-client privilege,
21
21   RQ EHKDOI RI WKH 'HEWRUV¶ HVWDWH ZLWh respect to all claims and causes of action that the Equity
22
22   Committee has been granted standing and authority to assert, prosecute and/or settle on behalf of
23
23   WKH'HEWRUV¶HVWDWHSXUVXDQWWRWKe Stipulation.
24
24          4.      Except as expressly set forth herein, all oIWKH'HEWRUVDQGWKH(TXLW\&RPPLWWHH¶V
25
25   respective procedural and substantive rights, claims, objections and defenses are hereby expressly
26
26
     3
27
27    Capitalized terms not otherwise defined have the same meaning ascribed to such terms in the
     Stipulation.
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 1   reserved and preserved.

 2           5.      Nothing in the Stipulation or herein shall be deemed to waive, limit, impair or
 3   otherwiVH SUHMXGLFH WKH (TXLW\ &RPPLWWHH¶V ULJKWV WR VHHN VWDQGLQJ DQG DXWKRULW\ WR DVVHUW
 4   SURVHFXWH DQGRU VHWWOH RQ EHKDOI RI WKH 'HEWRUV¶ HVWDWH DQ\ FODLPV RU FDXVHV RI DFWLRQ RI WKH
 5   'HEWRUV¶ HVWDWH DJDLQVW DQ\ SHUVRQV RU HQWLWLHV DQG VXFK ULJKWV DUH H[SUHVVOy reserved and
 6   preserved.
 7           6.      The Court shall retain jurisdiction with respect to all matters arising under or related
 8   to the Stipulation.

 9   IT IS SO ORDERED.
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           Date: December 19, 2017
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